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                       IN T H E UN ITED STATES DITRICT C O URT
                      FOR TH E W ESTERN DISTRICT O F V IR G IN IA
                            AT ROANOKL ABINGDON DIVISION

   CA RO LYN STO OTS,

                Plaintift

                                                            CivilAction N o.

   CAVA LRY PORTFOLIO SERV ICES,LLC
   CAVA LRY SPV 1,LLC
   LOU IS D ARDIGN A C and                           JURY TRIAL DEMANDED
   KRAM ER,LINKIE & TA Y LOR,LLC,

                Defendants.


                                         C O M PLA INT


                                JURISDICTION AND VENUE

      1. JurisdictionofthisCour'
                               tarisesunder28U.S.C.j 1331andpursuantto15U.S.C.j
         1692k(d).
     2. Thisaction arisesoutofD efendants'num erousand repeatc.d violations ofthe FairDebt
        Collection PracticesAct,l5U.S.C.ûj 1692etseq.(hereinafterreferredtoas
        itFDCPA''),intheirillegaleffortsto collectacqnsumerdebtfrom Plaintiff.
     3. Venue is properin thisD istrictbecausethe acts and transactions occurred here and the
        Plaintiffresideshere.


                                           PAR TIES

     4. PlaintiffCarolyn Stoots(hereinafterttplaintiff'')isanaturalperson whol-esidesin
        W ashington County,Virginia,anda Ssconsumer''asthattenu isdefined by 15U.S.C.j
        1692a(3).


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     5. DefendantCavalry Portfolio Services,andDefendantCavalry SPV 1)LLC (hereinafter
        referrcdtocollectivelyastçcavalry'')areçtdebtcollectorgsj''asthattenu isdefinedby 15
        U.S.C.j1692a(6)and for-profitcorporationsandmaybeservedthroughitsregistered
        agentas follow s:.CT Corporation System ,4701Cox Road,Suite 301,Glen Allen,V A
        23060.

     6. DefendantKramer,Linkie& Taylor,LLC,(hereinaherçtDefendantKramer'')isa1aw
        finn andisaSsdebtcollector''asthattenn isdefinedby 15U.S.C.j1692a(6),andmaybe
        served through itsregistered agentas follow s!CT Corporation System ,4701Cox Road,
        Suite301,Glen Allen,V A 23060,

     7. DefendantK ram erishired by and assistsDefendantCavall'y in collecting itsdebtsand in
        filing State Courtlawsuitsagainstconsum ers. D efendantKzam eris an agentof
        DefendantCavalry,

     8. DefendantLouisDardignac(hereinaûerttDefendantDardignac'')isanaturalpersonand
        is em ployed by DefendantCavalry asa LegalA dm inistratorand is a ççdebtcollector''as
        thattem)isdefinedby15U.S.C.j1692a(6),andmaybeservedatherbusinessaddress:
        Cavalry CreditM anagem ent,16 M cleland Road,Suite l01,St.Cloud,M N 56303.

     9. DefendantCavalry,D efendantKram erand DefendantD ardignacm ay attim es be
        referred to,collectively,dsç'the D efendants.''


                                FACTUAL ALLEGATIONS

     10,D efendantCavalry isengaged in thebusiness ofpurchasing charged-offconsum erdebts
        and attem pting to collectthem from consuluers.

     11.D efendantCavalry payspennieson the dollarfor the debtsitpurchases.

     12.DefendantCavalry m akesa businessdecision notto obtain a copy ofthe written contracts
        signed by consulners orotherevidence ofthe alleged debtwhen purchasing charged-off
        consum erdebtsorpriorto filing State courtcollection law suits againstconsum ers.

     13.DefendantCavalrym adesuch abusinessdecision with regardtoPlaintiff retaining a1aw
        firm (DefendantKramer)to fileaStatecourtactioninanattempttocollectadebtagainst
        Plaintiff.


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     14.DefendantK ram erm akesa businessdecision notto obtain a copy ofthe written contracts
        signed by consum ersorotherevidenceofthe alleged debtpriorto tiling State court
        collection law suits againstconsum ers.

     15.The D efendantshave alleged in a priorState courtlaw suit,thatPlaintiffincurred an
        obligation to pay m oney arising outofatransaction in which the lnoney,property,
        insuranceorserviceswhicharethesubjectofthetransactionareprimarilyforpersonal,
        fam ily orhousehold purposes,and istherefore atsdebt''asthatterm isdefined by 15
        U.S.C.j1692a(5),namely,acreditcarddebtoriginallyowedto,orselwicedby,HSBC
        BankNevadaN.A.,ortheirassignees(hereinaiertCHSBC'').
     16.According to DefendantCavalry'spapenvork filed with the State court,Plaintiff s
        alleged debtsw m'e consigned,sold orothenvise transferred to D efendantCavalry for
        collection from Plaintiff

     l7.W hen purchasing charged-offconsum erdebts,DefendantCavalty m akes an intentional
        business decision notto obtain knowledge asto whethera written contractexisted
        betwten the originalcreditorofthe debtand the consum er,orifthere was other
        docum entation show ing when orhow the debtw asincurred,oranything beyond very
        rudim entary inform ation which would allow them to properly calculate the am ountof
        debtowed by a consum eratthe tim e they file a collection lawsuit. The only
        docum entation orinform ation on the alleged accountreceived by D efendantCavalry is
        the consuluer'snam e,lastknow n address,telephonenum ber,socialsecurity num ber,
        am ountdue,nam e oforiginalcreditor,originalaccountnumber,and in som e instances,
        alleged accountstatem entsdating back,typically two yearsorless,from the tim e the
        alleged accountwascharged off.

     18.Thelack ofdocum entation thatdebtbuyerssuch astheDefendantCavalryreceivewhen
        they purchased the debtisreflected in theprice ofthe debt,som etim esa little as afew
        pelm ieson the dollar.

     19.W hen DefendantCavalry boughtthe debtthey allegeisow ed by Plaintiff,they
        intentionally m ade a businessdecision notto receive any ofthe basic docum ents or
        evidence needed to delnonstrate thattheam ountthey claim ed thatw ere due from
        Plaintiff,as eitherprincipalorinterest,was actually owed by him ,and they did not
        possess any such docum entsasofthedate they filed the State courtaction tluough its
        agent,D efendantKram er.

     20.Specifically,atthe tim e DefendantCavalry purchased Plaintifrs alleged A ccount,they
        didnotreceiveanydocumentswhich(a)couldbeusedasevidencetoshow,inacourtof

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        law,thatPlaintiffhadenteredinto acontractwith any entity creating thcdebtoropening
        an Account,(b)show how theamountclaimed asduewascalculated orwhatPlaintiff
        receivedinretul'nforincurringtheallegeddebt,(c)show how theinterestonthedebt
        w asto be calculated orhow paymentswere to beapplied to both plinoipaland interest,
        and whetherany paym entshad been properly applied pursuantto any agreem entbetween
        theoriginalcreditorsandPlaintiff,(d)show whetherDefendantswereentitledtosuein
        State courtratherthan arbitrate any alleged claim sagainstPlaintiff,and ifthey did have
        therighttosue,whetherDefendantswereentitledtoanyamountsofprejudgment
        interest,andifso,atwhatrateandfrom whatdate,and(c)show whentheallegeddebt
        wentinto defaultand whatactsby Plaintiffceaused the default. Fm -ther,D efendantsdid
        notpossess,and did nothave accessto,any such docum ents asofthe date they tiled the
        State courtaction.

     21.W hen D efendantCavalry purchased Plaintiffs alleged Accountthey did notreceive any
        supportingdocumentationofthedebt,including,butnotlimitedto,(a)thealleged
        underlyingContractsbetweenHSBC andPlaintiff;(b)anythingbearingPlaintiff's
        signaturebindinghertoanycontractualobligation,(c)documentationshowinghow a1l
        chargestotheallegedaccountwereincun'edby Plaintiffwith regard to theamountbeing
        sueduponbyDefendants,(d)monthlybillingstatementswhichencompassanycharges
        thatwereincurredrelatingtotheamountbeingsuedupon,(e)acompletehistoryofthe
        paym ents m ade on the accountto ensure properaccounting by the originalcreditorand
        anyallegedassignees,(9 anydocumentsshowinghow theamountoftheallegeddebt
        wascalculated,or(g)anyinformationshowinghow theinterestandprincipalonthedebt
        were calculated w ith regard to the alleged outstanding balance.

     22.lnstead,w hen DcfendantCavalry purchased the Account,a1lthey received w asthe
        aforementioned lim ited information aboutPlaintiffandthe allegeddebt,whichwas
        transm itted electronically aspartofa spreadsheetalong w ith thousandsofothercharged-
        offaccounts.

     23.Pliorto the D efendantsfiling the State courtcollection law suitagainstPlaintiff,they
        failed to obtain any supporting docum entation ofthe debt,including,butnotlim ited to,
        (a)theallegedunderlyingContractsbdweenHSBC andPlaintiff;(b)anythingbearing
        Plaintiffssignature,(c)documentationregarding whatPlaintiffpurchasedorwhen she
        madeapurchaseasitrelatestotheamountbeingsuedupon,(d)apaymenthistory
        relating to theperiod oftimein whichthealleged debtwasincm-red asitrelatesto the
        amountbeing suedupon,or(e)documentsshowing how theamountoftheallegeddebt
        w ascalculated.




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      24.D efendantCavalry and DefendantKram erhave a çtpattern and practice''offiling
         collectionlawsuitsagainstconsumersinVirginiaondebts(a)aftermakinganintentional
         businessdecision notto obtain know ledge asto w hethera w ritten contractexists between
         the originalcreditorand theconsum erorwhethcrotherdocum entation existsshowing
         whenorhow thedebtwasincurred,(blpriortomakingareasonableandadequate
         investigation asto whetherthe consum erow esthe am ountofdebtthey are attelnpting to
         collect,and(c)byattachingaffidavitsfrom individualswhoseknowledgeofthespecifics
         ofthe originaldebtis lim ited ornon-existent. These Defendants do a1lofthis with thc
         intentionofeitherobtainingadefaultjudgmentorcoercingtheconsumerintoa
         settlem ent.

      25.DefendantCavalry and D efendantKram erfile the collection law suits againstV irginia
         consumers,andhavefiledsuchacollectionldwsuitagainstPlaintiftlknowingtheydonot
         have the m eans,and do notintend to obtain them eans,to prove the alleged debt.

      26.Becausedebtbuyers such as DefendantCavalry and debtcollection attom eys such as
         D efendantK ram erlack docum entation necessary to establish a claim based on m onies
         advanced orloaned,they often file collection law suitsagainstVirginiaconsum crson a
         sworn account,and attem ptto supportthe olaim with a false,deceptive and m isleading
         affidavit.

     27.lnamajorityofthecases,debtbuyerssuchasDefendantCavalryobtainadefault
        judgmentandthesufficiencyofthedebtbuyer'saffidavitortheirabilitytoprovethe
         related accountthrough adlnissible evidence isnotchallenged.

     28.Debtbuyerssuch asD efendantCavalry,and DefendantCavalry them selves,tile
         hundredsofcasesamonthinjurisdictionsthroughoutVirginia,includingPlaintiff's
         jurisdiction,W ashingtonCounty,Virginia.TheDefendantsdosowiththehopesthat
         eithertheconsumerdoesnotshow up atall,oriftheyshow up,they donotchallengethe
         amountsuedupon.lneitherinstance,theDefendantswillreceivejudgmentbasedonthe
         false and m isleading affidavitsfiled with the State court.

     29.lnthosefew instanceswhere theconsumerhasthewherewithal,m eansand abilityto
        defendthe collection lawsuit,debtbuyerssuch astheDefendantCavalry anddebt
         collectionattomeyssuchasDefendantKramerusuallywilldismiss(Rnon-suif')thecase
         ratherthan tisk having itsdeceptive practicesexposed.

     30.Ahera reasonable opportunity forfurtherinvestigation ordiscovery,Plaintiffbelieves
        therew illbeevidence to show thatoncea lawsuitis non-suited by DefendantCavalry or
        itsagents,D efendantCavalry w illoften sellthe accountsued upon to anotherpurchaser

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         ofbaddebt.Theconsumerwouldthenbesubjecttocollectioneffortsbyaseparate
         entity on the sam e alleged accountthatthe Defendantshave already sued upon.

      31.D efendantCavalry and DefendantKram eralso engage in a çûpattertland practice''of
         allowing the State Courtto schedule pleadings and atrialdate;requiring the debtorto file
         attGroundsOfDefense''orsuffersummaryjudgment,andrequiringthedebtor,orhis
         counsel,to appearatthe trialdate only forthe Defendantsto inform the State courtthatit
         hasnowitnessespresentandisrequestinganon-suit(dismissalwithoutprejudice).On
         occasion,D efendantK ram erwillrequestthatthe case be non-suited prior to the actual
         trialdate.

      32.Aftera reasonable opportunity forfurtherinvestigation ordiscovery,Plaintiffbelieves
         therc willbe evidence to show thatthe Defendantsrequesta non-suitin m orethan ninetp
         ninepercent(99%)ofthecaseswhereaconsulnerchallengesthevalidityofthedebt
         and/orrefuses to settle orm akepaym entarrangem entswith the D efendants.

     33.In som e instances,debtbuyerssuch asD efendantCavalry,and D ebtCollectorssuch as
        D efendantK ram er,know ing thatthey carmotprove thealleged accountwith the lim ited
        doculuentation they possessorhave accessto,w illsubpoena theconsum er,who isthe
        defendantin alaw suitin which the debtbuyerisplaintiff,in an attem ptto prove itscase
        through the very person they are suing.To be clear: A fterthe consulnerhas already
        disputed the debtthrough pleadings,the D efendantsw illsubpoena the consum erin an
        attemptto prove itscase againsttheconsum er. Thisis done because thc D efendantsare
         unabletogaindefaultjudgl
                                nentagainstaconsumerwhoappearsincourtanddisputesthe
         debt,and furtherbecause the D efendantshave no ability to prove aprim a facie case in a
         law suitthatthey have filed againstthe consum er

     34.W ith regard to Plaintiffin particular,the Defendants engaged in thispattern ofpractice.
        To w it,on M ay l,2012,D efendantCavalry and DefendantIc am erfled a civillawsuit
         againstPlaintiffinStatecom'tseekingjudgmenttocollectmoney,pluscost,plusinterest.
     35.The D efendants ûled the lawsuitbased upon afâdavitsthatgive a false im pression to the
        consum er,and to the State coul-t,thatDefendantshave the ability to prove the alleged
        debttluough adm issible businessrecords and com petenttestim ony ofone ofm any
        affiantsem ployed by DefendantCavalry,in this instance,DefendantD ardignac.

     36.The D efendants filed the lawsuitdespite the factthatthey had no adm issible evidence
        showing thatPlaintiffow ed the am ountofdebtthey were alleging he owed,and did so
        priorto m aking a reasonable and adequate investigation asto w hetherPlaintiffacm ally
        owed the am ountofdebtthey w ere alleging he owed.

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      37.The Defendants used false,deceptive,and m isleading practices orm eans;and tngaged in
         abusiveand harassing practiceso1.m eans,in connection with the civillaw suitand in
         certain otheractions by D efendantsrelating to the law suit. As aresultofthese practices,
         D efendantshave violated num erous and m ultiple provisionsofthe FDCPA.

            M AY 1,2012 COLLECTION LAW SUIT AND ASSOCIATED COMM UNICATIONS

      38.Plaintiffincorporates by reference a11oftheaboveparagraphsofthisColuplaintas
         though fully stated herein.

      39,W ithinone(1)yearpl4ol'tothefilingofthisColnplaint,onoraboutM ay1,2011,the
         D efendants,in The W ashington County GencralD istrictCourt,V irginja,caused to be
         issuedaCivilW arrantIn DebttseeAttachedExhibit1).
                                                         ,theDefendantsalsofileda
         separateswolm AffdavitwiththeW arrantlnDebt(seeAttachedExhibit2)andalsofiled
         aseparateStatementofAccountwiththeW arrantlnDebt(seeAttachedExhibit3),
         which appearsto be a com putergenerated statem entcontaining inforlnation concem ing a
         debtalleged to beow ed by Plaintiff. The A ffidavitislargely a regurgitation ofthe
         inform ation contained in the 'tstatem ent,''w ith additionalboilerplate language alleging a
         debtincurred and afailure to repay thatdebt. In addition,the D efendantsfled a
         purportedttAssignmentandBillofSale''(seeAttachedExhibit4)betwcenHSBC and
         DefendantCavalry, Thisdocum entreferences an ttA greem ent''thathasneverbcen
         disclosed by D efendants.

     40.The W arrantIn Debt,A fsdavitand Statem entlabeled asExhibits 1,2 and 3,w ill
        hereinafterbereferred to collectively astdcollection Law suit.''



                               M AY 1N2012 COLLECTION LAW SUIT

                          W arrantIn DebtFiled ln Collection Lawsuit
                           State CourtC ase Num btr G V 12000894-00

     41.The W an-antIn Dcbtw as filed and served on Plaintiffin connection with the collection
        ofadebtand in an attelnptto collecta debtjand isa ltcom m unication''as defined by l5
        U.S.C.k 1692a(2).
     42.The W arrantin DebtClaim sthatPlaintiffow esD efendantCavalry Funding,LLC
        assigneeofHSBC <çadebtinthesum of$1,249.89netofany credits,with interestat6%


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         from dateofjudgmentuntilpaid.$56.00costsand$.00atlorney'sfeeswiththebasisof
         thisclailn being ...open account.''

      43.The W al-rantln Debthas a signam re thatisillegiblc,A ttom ey,how ever,ttD LA-S.J.
         Zecca''istyped asttAttonw y for Plaintiff''

      44.TheW arrantlnDebt,t-
                            iledinconjunctionwith afalseandmisleadingaffidavit,andunder
         circum stances where there are notadequate proceduresin place to ensure the reliability
         oftheamountoramountsbeing suedupon,constituted theuseofafalse,deceptivc,and
         m isleading representation orm eansin connection w ith the collection ofa debtorattempt
         tocollectadebt,inviolationof15U.S.C.jj1692eand 1692e(10),andwasanunfairor
         unconscionablem eanstocollectorattemptto collectadcbtin violation of15 U,S.C,j
         1692:


                         Sw orn A ffidavitFiled W ith C ollection Law suit

      45.The sw om A ffidavitwas'
                                Iiltd and served in connection with the collection ofa debtand
         inan attemptto collecta debt,andisaç'communication''asdefhledby 15 U.S.C.j
         1692a(2).

      46.TheswornAffidavitisreproducedverbatim below (alsoattachedasExhibit2):

                 STATE OF NEW YORK  )
                                    )ss.
                 COUNTY OFW ESTCHESTER )
                 Re:Cavalry Portfolio Services,LLC asassignee ofCavalry SPV 1,LLC,as
                 assignee ofH SBC Bank N evada,N .A.hOrchard Bank

                                               CA ROLY N STO OTS

                           LouisD ardignac,being duly swom on oath,depose and say:

                       2. lam acting in the capacity ofLegalA dm inistrator form y em ployer
                          Cavalry Portfolio Services,LLC,a Delaw are iim ited Iiability
                          com pany.Cavalry Portfolio Services,LLC perfonnsrecovery services
                          foritsaffiliate,Cavalry SPV 1,LLC.In pelfonning recovery services
                          forCavall'y SPV 1,LLC,Iam fam iliarw ith and have accessto the
                          books and recordsofCavalry SPV 1,LLC and ofCavalry Portfolio
                          Senices,LLC.


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                    3. Thatthedefendant,CAROLYN STOOTS,theaccountholderts),
                       opened an accountwith HSBC Bartk Nevada,N .A .yOrchard Bank on
                       2/21/2008,whichaccountbecamedelinquentand wascharged offon
                       2/28/2011(thetfAccounf).

                    4. Asof1/24/2012,thebalancedueandowingbytheaccountholderts)
                       on theaccountis$1,3l7,69,which balanceiscom prisedof$1,249.89
                       ofprincipalbalanceand $67.80+$0+$0 ofothercharges.Theprincipal
                       balance continuesto accrue interestas ofthe 1/24/2012 atarate of6% .
                       Theaccountholderts)havebeencrcditedforal1payments,set-offsor
                       othercreditdue.

                    5. Thatthe Accountwaspurchased by Cavalry SPV 1,LLC on orabout
                       3/l8/11.

                    6. ln the nonnalcourse ofbusiness,Cavalry Portfolio Services,LLC
                       m aintainscom puterized accountrecords foraccountholders.Cavdlry
                       Portfolio Services,LLC m aintains such recordsin the ordinary and
                       routine course ofbusiness and ischarged with the duty to accurately
                       record any businessact,ctm dition ereventonto the com puterrecord
                       m aintained forthe accounts,with the entriesm ade atorvery nearthe
                       tim e ofany such occurrence.1havereviewed the applicable computer
                       record asitrelatesto the A ccount,and 1m ake thisA fsdavitbased
                       upon infonnation from thatreview,and ifcalled asa w itness.1could
                       testifyto them atterssetforth herein based on thatreview .

                       ln connection wit,h thepurchaseofthe account,H SBC Bank N evada,
                       N .A.hO rchard Bank transferred copies ofits electronic business
                       recordsto Cavalry SPV 1,LLC w hich recordsw ereloaded into the
                       com putersystem ofCavalry Portfolio Service,LLC and which are
                       m aintained in an electronio fonmat.

                    8. Upon inforlnation and belief,no D efendantis an infantorincom petent
                       oram em beroftheU nited StatesAnned Forceswho would be entitled
                       to stay relief.

                    9. Underoath,Iam authodzed to m ake this am davitforPlaintiffand 1
                       am infonned and believe the statem entsare true and correct.


                                  Subscribed and sw orn to before m e on 2/28/2012

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                         ps/lvouis Dardiznac                       /s/christina M artinez
                         LegalA dm inistrator                Notary Public,State ofNew Y ork
                                                                        (StampedSEAL)
                  Kram er,M eggison and Taylor LLC
                  14582903


       47.The A ffidavitSworn by D efendantDardignac,filed in the Collection Law suitby
          DefendantKramer,both asagentsofDefendantCavalry,wasfalse,deceptive and
          m isleading to theextentthe aftiantclaim spersonalknowledge ofthc accountinfonnation
          described in the affidavitand to the extentthe affiantassel'tsthatthe recordsofthe
          alleged debtwere recorded by Cavalry oran agentthereof,atorcloje to the tim e that
          they eventsrecorded occurred.

       48.Taken as a whole,even the m ostsophisticated consum erw ould think thattheA ffiant,
          DefendantDardignac,orsom e agentorem ployeeofD efendantCavalry,had personal
          knowledge ofevents thatoccun- ed priorto DefendantCavalry acquiring the Account.

       49.Defendantsdid notin facthave adm issible docum entation and had no ability to aequire
          adm issible docum entation in orderto prove thatthe am ountsued upon in State Courtw as
          properly ow ed by Plaintiff.

       50.Contrary to the assertionsby DefendantDardignaccontained within the affidavit,
          DefendantDardignacdid nothavetheability to testify to allofthem atterssetforthin the
          affidavitifcalled to testify. DefendantDardignac isnotable to lay them operfoundation
          to adm itthebusinessrecordsofH SBC orto adm itthose records asintegrated busintss
          recordsofD efendantCavalry. D efendantCavalry and D efendantKram erknew orhad
          reason to know thatD efendantDardignac's statem entsw ere false and m isleading.
          Further,DefendantCavalry and D efendantKram erknew thatD efendantDardignacnever
          intended to testify becausethose Defendantsneverintended to callDefendantDardignac
          to the stand.

       51.DefendantCavalrypurchaseselectronicbusinessrecordsofold accountsforpennieson
          the dollar. D efendantDardignacreview sthese elcctronicrecords and sw earsoutan
          AffidavitallegingpersonalknowledgeofPlaintiff'sAccount,and theability to testify
          com petently aboutsuch account,based on a cursory review ofthe purchased electronic
          records. TheA ffidavitused to prosecute the Collection Law suitw asm adeby Defendant
          Dardignacby reproducing the infozm ation contained in the electronic record in a purely
          m echanicalw ay,w ith no evidence ofpersonalthoughtorundc standing.

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       52.DefendantDardignacproducedtheAffidavitwithoutany review ofany suppol4ing
          docum entation creatcd during therelationship between the originalcrcditorand Plaintiff.
          A s LegalA dm inistratorforDefendantCavalry,DefendantD ardignac sim ply did nothave
          accessto sufficientrecordsto ensurc the reliability oraccuracy ofthe accountsued upon.

       53.The only recordsheld by D efendantCavalry atthe tim e DefendantDardignac sigtw d the
          sworflA ffdavitwere com puterrecords,which contained very lim ited inform ation about
          Plaintiffand his alleged debt.

       54.The only recordsthatD efendantDardignac w asable to review priorto signing the sw om
          Affidavitwerethelimitedcomputerrecordsobtained byDefendantCavalryfrom HSBC.

       55.However,the Affidavitcreates afalse im pression thatDefendantDardignac could testify
          com petently,and properly introduee businessrecords,concem ing the alleged debtbeing
          sued upon, Itcreatestheimpression thatthey havethe ability to adm itevidence
          concem ing aI1the assertionscontained in the affidavit. This would include inform ation
          thatPlaintiffopened an accountw ith HSBC and thatthe balance sued upon w asproperly
          due and owing to D efendantCavalry.

       56.D efendantD ardignac claim sin tlw Affidavitthathehasthe ability to testify com petently,
          based on a review ofbusinessrecordsthathe allegeswere keptin the ordinary course of
          businessand thatsuch recordsw ere created with entriesthatwere m ade atorvery near
          tlze tim eofany such occurrence. The A ffidavitallegesthatDefendantCavalry ischarged
          with theduty to accurately record any businessact,condition orevent. How ever,atthe
          endoftheaffidavitDefendantDardignacallegesthatheis:linfonnedandbelievelsj''
          thata11the statem entsin the affidavitaretrue and correct.

       57.W ithin the Afidavit,D efendantsintentionally do notreferto whosebusinessrecords
          D efendantDardignac isreferring to. Thisisan attem ptto m ask the factthatHSBC is
          quite rem oved from the processofsuing upon the accounts. ltis also an attem ptto m ask
          the factthatDefendantsare quite rem oved froln the processesem ployed by thc HSBC in
          m aintaining itspurported accountrecords. Upon infonnation and belief,the alleged
          accountspurchased by D efendantCavalry were sold to Cavalry w ithoutw arranty or
          recourseagainstH SBC. Thism eansthatDefendantCavalry boughtthe alleged accounts
          çtas is''w ithoutany assurancesthatthe am ountsw ere properly due and ow ing oreven
          collectible.

       58.The affidavitgivesthe false im pression thatDefendantD ardignachaspersonal
          know ledge ofthe accountsued upon butin the sam ebreath adm itsthatthe A ffidavitis

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           produced upon DefendantDardignac'sinfonnation and belief.Further,thebusiness
           recordsthatD efendantCavalry m ustrely on to prove a valid obligation betw een H SBC
           and Plaintiffare businessrccords created by HSBC. ltw ould be im possible forany
           elnployeeatCavalry tohaveentered businesseventsthatoccurred whiletheaccountwas
           in controlofH SBC. Y etthe Affidavitisparsed in such a way to give the false
           im pression thatD efendantD ardignachmsthe ability to lay a properevidentiary
           foundation to testify com petently to al1m attersstated therein. No such ability existsor
           existed atthe tim eD efendantDardignac signed the affidavit.

       59.W ithoutany recordsoftheoriginatorofthedebtavailableforhisreview to detenuineif
          there w asa contractsigned by Plaintiffmpd,ifso,whetherthe am ountofthe debtas to
          plincipalorinteresthe alleged w asowed by Plaintiffin the Affidavitw as correctas
          requiredunderpenaltyofperjury,itwasimpossibleforDefendantDardignacto
          truthfully m ake a sw olm affidavitas to the correctnessofthe am ountow ed,ifany,by
          Plaintiff.

       60.Proceeding on thisfalse,misleadingand deceptiveaffdavit,Defendantsfiled alawsuit
          know ing they had no ability to prove the allegationswhich fonned the basisofthe
          Collection Lawsuit. The A ffidavitallegesfactsin whioh noneofthe D efendantshave
          personalknowledge,despitetheirassertion thatthe Custodian ofRecordsis com petentto
          testify to the m atters stated in the Affidavit. Thisassertion ofcom petency,com bined
          with the allegations contained in the A ftidavitw ould create a false im pression in the
          m ind ofthe leastsophisticated consumerthatDefendantshad the legalrightand tht legal
          ability to collectthe debtin the m annerand in the am ountin w hich they attem pted to
          collectit.U.S.v.NationalFinancialServicesslnc.,98F.3d131,136(4th Cir.1996)
          (''lElvaluatingdebtcollectionpracticeswithaneyetothetleastsophisticatedconsumer'
          com portsw ith basic consum er-protection principles:t'
                                                                l-he basic pup ose ofthe least-
          sophisticated-consum erstandard is to ensure thatthe FDCPA protectsa11consum ers,the
          gullible aswellas the shrew d.Thisstandard isconsistentw ith the norm sthatcourtshave
          traditionallyappliedinconsumer-protectionlaw.'''(quotingClomonv.Jackson,988F.2d
          1314,13l8(2ndCir.1993)).
       61.The sworn A ffidavitclaim ing testim onialcom petence im plied thatD efendantDardignac
          had personalu ow ledge ofPlaintiff's Account. ln fact,D efendantDardignac wasnot
          com petentto testify,and had no personalknow ledgeofthe account. The A ffidavitw as
          an attem ptto m islead the State courtand Plaintiffinto believing thatD efendant
          D ardir ac was som eone who had personalknowledge ofthe am ountofdebtallegedly
          ow ed by Plaintiffand thatPlaintiffin factowed the debt,when itw asnotpossible for
          D efendantDardignac to have such personalknowledge.



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       62.Furthtr,itw asan attem ptto m islead theState courtand Plaintiffinto believing that
          DefendantDardignachad an abilityto testifytoadmissibleevidenceconcerning thedebt
          and thatthisevidence would be adm itted underthe ttBusinessRecords''exception to the
          zule againstthe introduction ofhearsay evidence. Thisevidence would nothavebeen
          adm issible because the foundationalrequirem entsofpersonalknowledge and entry ofthe
          record atornem.the tim e ofthe record's creation did notin factexist,contrary to the
          assertionsby DefendantDardignac in the swm-n Affidavit.

       63.Theonly recordsheld by DefendantCavalry atthe tim e DefendantD ardignac signed the
          swom Affidavitwere computerrecords,whichcontained verylimited inform atjon about
          Plaintiffand heralleged debt. These com puterrecordsare notcom petentevidence
          simply becausetheDefendantswish them tobe.TheDefendantscannotgiveadequate
          assurance thatthe recordsofthealleged accounthave the guaranteesoftl-ustworthiness
          and reliability thatfonustbe basisofthebusinessrecords exception.

       64.In addition,the Defendantscannotshow thatthey independently verified the accuracy of
          theaccountsued upontopennittheDefendantstorelyupon theintegration ofHSBC'S
          businessrecordsinto D efendantPortfolio'sbusinessrecords. The D efendantssimply did
          nothave accessto enough inform ation aboutthe alleged accountto do so.

       65.Even assum ing thatthe recordscould be introduced as com petentevidence,D efendants
          stillcalmotprovethatPlaintiffisliableforthealleged account.No contractorother
          writing signed by Plaintiffhasbeen produced by the Defendants atany tim e priorto,
          during,orsubsequentto the State courtlawsuit.

       66.D efendantCavalry,D efendantDardignac,and DefendantKram erintentionally m ade a
          businessdecisiontofiletheCollectionLawsuitwithout@)obtainingknowledgeasto
          whethera w ritten contractexisted between HSBC and Plaintifforifthere w asother
          documentationshowingwhenorhow thedebtwasincurred,and(b)makingareasonable
          and adequate investigation asto w hetherPlaintiffowed the am ountofdebtthey w ere
          attem pting to collect,butto rely solely on otherpartiesforthisinfonnation.

       67.The Defendants'businessdecision to rely entirely on H SBC oran assignee ofCavalry
          Pol-tfolio Services,LLC oran assigneeofCavalrySPV 1,LLC asto theamountofdebt
          allegedlyowedbyPlaintiffwithout(a)obtainingknowledgeastowhetherawritten
          contractexisted between Cavalry and Plaintifforifthere w asotherdocum entation
          showingwhenorhow thedebtwasincurred,and(b)makingareasonableandadequate
          investigation as to whetherPlaintiffowed the am ountofdebttlzey were attem pting to
          collect,w asnota procedure reasonably adapted to avoid using a deceptive orm isleading
          representation orm eansin connection with collection ofthedebt.

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       68.Bymakingabusinessdecisiontointentionallynot(a)obtainknowledgeastowhethera
           written contrad existed between Cavalry and Plaintifforifthere wasother
           documentationshowingwhenorhow thedebtwasincurredpand(b)makeareasonable
           and adequate investigation asto whetherPlaintiffow ed the am ountofdebtthey w ere
           attem pting to collect,priorto âling a collection lawsuit,the D efendants intentionally
           used a deceptive and m isleading representation in connection with collection ofthe debt
          astotheamountallegedlyowedbyPlaintiffinviolationof15U.S.C.j1692eand
          1692(e)10andisanunfairorunconscionablemeanstocollectorattempttocollectthe
          debtinviolationof15U.S.C.â1692f

       69.'f'
            he Affidavitfiled in connection with the Collection Law suitalleged infonuation thatthe
          Defendantskncw orshouldhaveknown wasnottrueand thereforewastheuseofa false,
          deceptive,and m isleading representation orm eansin cozm ection with collection ofthe
          debtto collectorattemptto collectthedebt,inviolationof15 U.S.C.jj 1692eand
          1692e(10),andisanunfairorunconscionablemeansto collectorattempttocollectthe
          debtinviolationof15U.S.C.j1692f.


                                D efense and O utcom eofCollection Lawsuit

       70.Plaintiffretained cotmseltodefend againsttheCollection Lawsuit.CounselforPlaintiff
          appearcd to dispute the Collection Law suiton June 25,2012 in W ashington County
          GeneralDiskictCourt.TheCourtorderedDefendantKzamerto fileaBillofPartioulars
          which wastim ely filed w ith the courton oraboutJune 29,2012.The Courtfurther
          ordered aG rounds ofD efense which,afterPlaintiffretained counsel,w astim ely Gled
          w ith the courton oraboutAugust17,2012.The case w assetfortrialon August27,
          2012.

       71.W hen the trialdate arrived,D efendants,knowing they did nothave the m eansand ability
          to prove itslaw suitthrough adm issibie evidence,requested thatthe case benon-suited.

       72.Aftera reasonable oppol-tunity forfurtherinvestigation ordiscovery,Plaintiffbelieves
          therewillbeevidenceto show thattheHSBC account,aûerthelawsuitbaseduponthat
          accountwasnon-suited byDefendantCavalrythrough itsagentDefendantKramer,has
          been sold orwillbesold to adifferentbuyerofbad debt.

       73.By filing a law suitwithoutevidence to prove such law suit,and withoutthe intention of
          proving thelaw suit,and then selling orseeking to sellthe acoountsued upon after



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          voluntarilydismissing such lawsuit,Defendantsused anunfairorunconscionablem eans
          to collectorattemptto collectadebtinviolation ofl5U.S.C.j 1692f.

       74.The above-detailed conductby D efendantsin connection with collection ofthe debtand
          in an attemptto collcctthe debtw asconductin violation ofnum erousand m ultiple
          provisions ofthe FDCPA including,butnotlim ited to the above-cited provisionsofthe
          FDCPA .

       75.Plaintiffisinfonnedand believesand,therefore,allegesthatDefendantsknowinglyand
          intentionally cngaged ittharassing,abusive,false,m isleading,unfair,deceptive,
          unconscionable and illegaldebtcollection practices.

       76.TheDefendantsfailedtomaintain(i.e.,actuallyemployorimplement)proceduresto
          avoid m aking errors and violating the FD CPA priorto,or during,the collection ofthe
          allegeddebtagainstPlaintiff

                                                DAMAGES

       77.Byâling theCollection Lawsuitbased ona falseandm isleadingaffidavitinviolationof
          the FD CPA ,the D efendantscaused Plaintiffto be served w ith a lawsuitby a sheriff's
          deputy in a sm allcom m unity.

       78.Plaintiffhassuffered actualdamagesasaresultoftheseillegalcommunicationsslawsuits
          andcollectien attemptsby Defendantsintheform ofanger,anxiety,emotionaldistress,
          fea'
             m frustration,upset,hum iliation,and em barrassm ent,am ongstotherem otions.
          Plaintiffhassuffered from severeemotionaldistressasaresultoftheillegalcollection
          activitiesofD efendants. This em otionaldistresshascaused or contributed to problem s
          w ith Plaintiff'sphysicaland m entalwell-being and has caused Plaintiffto seek m edical
          and m entalhealth treatm entand m edication and hasincurred expenses âsa result.


                                R ESPONDEAT SUPERIOR LIABILITY
       79.ln addition to theirindividualliability underthe FDCPA ,the actsand om issionsof
          DefendantKram erand itsagents,and DefendantDardignac,a11asagentsforDefendant
          Cavalry,and w ho comm unicated w ith Plaintiffas described herein,w ere com m ittvd
          w ithin thc tim e and space lim itsoftlzeiragency relationship with theirprincipals,
          D efendmatC avalry.




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        80.The actsand om issionsby DefendantKram erand itsagents,and D efendantDardignac
           w ere incidentalto,or ofthe sam egeneralnature as,the responsibilitiestbey were
           authorized to perform by D efendantCavalry in collecting consum trdebts.

        81.By com m itting these actsand om issions againstPlaintiff,D efendantKram erand its
           agents,and DefendantD ardignac werc m otivated to benetittheirprincipals,Defendant
           Cavalry.

       82.DefendantCavalry isthereforeliable to Plaintiffthrough the DoctrineofRespondeat
          Superiorforthe intentionaland negligentacts,errorsand om issionsdonein violation of
          federal1aw by the debtcollectors em ployed asagentsby DefendantCavalry including,
          butnotIim ited to the above cited violations ofthe FD CPA ,in theirattem pts to collectthe
          debtfrom Plaintiff.
                                 DEM AND FOR TR IAL BY JURY

       83.Plaintiffisentitledtoandherebyrespectfullydemandsatrialbyjuryona11issucsso
           triable. US Const.am end.7. Fed.R .CiV.P.38.


                                        CA USES O F A CTIO N

                                             C O UNT 1.

      VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICESACT 15U.S.C.bj
                                             169: etseq.


       84.Plaintiffincom oratesby referencealloftheaboveparagraphsasthough fully stated
          lzerein.

       85.The foregoing acts and cm issionsofD efendants constitute num erous and m ultiple
          violationsofthe FDCPA including,butnotlim ited to each and every one oftheabove-
           citcdprovisionsoftheFDCPA,15U.S.C.gj1692etseq.,withrespecttoPlaintiftl
       86.AsaresultofDefendants'multipleviolationsoffheFDCPA,Plaintiffisentitled to acm al
          damagespursuantto 15U.S.C,j 1692k(a)(1),inannmounttobedetenninedqttrialbya
          jury;statutorydamagespursuanttoJ5U.S.C.91692k(a)(2)(A)intheamountof
          $1,000.00;and,reasonableattorney'sfeesandcostspursuantto 15U.S.C.â1692k(a)(3)
           from each and every D efendant.



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                                    PRAY ER FOR R ELIEF

          W HEREFORE,Plaintiffpraysthatjudgmentbeenteredagainsteachandevery
    Defendant:

                                           CO UNT 1.

            VIOLATIO NS O F TH E FAIR DEBT CO LLECTIO N PR ACTICES A CT
                                     15U.S.C.jj 1692etseq.

    *     foranawardofactualdamagespursuantto 15U-S,C.9j692k(a)(1)againsteachand
    everyDefendantandforPlaintiff,inanamounttobedderminedattrialbyajury;
    *     foranawardofstatutorydamagespursuantto15U.S.C.jl692k(a)(2)(A)intheamount
    of$1s0O0.00 againsteaoh and every Defendant,and forPlaintiff'
                                                                ,
    *     foranawardofcostsoflitigationandreasonableattorney'sfeespursuantto15U.S.C.9
    1692k(a)(3)againsteachandeveryDefendantandforPlaintiff;and
    .
          forsuchotherandfurtherreliefasmaybejustandproper.


                                                           Respectfully subm itted,

                                                           CARO LY N STO OTS


                                                           /s/Brandon snodarass.Esf.
                                                                    . - -             -


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